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                                        No. 25-1291

                                           IN THE

          United States Court of Appeals for the Fourth Circuit

          AMERICAN FEDERATION OF STATE, COUNTY AND MUNICIPAL EMPLOYEES, AFL-
                                     CIO, ET AL.,

                                                       Plaintiffs-Appellees,

                                             v.

                         SOCIAL SECURITY ADMINISTRATION, ET AL.,

                                                      Defendants-Appellants.



                            On Appeal from the U.S. District Court
                                for the District of Maryland
                                  Case No. 1:25-cv-00596


            RESPONSE IN OPPOSITION TO MOTION FOR STAY PENDING
                                 APPEAL



                                                  Alethea Anne Swift
                                                  DEMOCRACY FORWARD FOUNDATION
                                                  P.O. Box. 34553
                                                  (202) 448-9090
                                                  aswfit@democracyforward.org
                                                  Counsel for Plaintiffs-Appellees


                                         Additional counsel on signature page.
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                                         INTRODUCTION

              Defendants-appellants ask for an emergency stay but face two problems.

        First, there is no final, appealable district court decision. Second, there is no

        emergency.

              The district court entered a temporary restraining order on March 20, 2025

        (the “temporary order”). Since then, the parties have agreed to extend the

        temporary order’s effect through April 17 and stipulated to a briefing schedule for

        plaintiffs-appellees’ forthcoming motion for a preliminary injunction. That motion

        will be fully briefed on April 10 and heard on April 15. The order resolving it will

        supersede and replace the temporary order that is the subject of defendants’ appeal.

        Like the vast majority of temporary restraining orders, the temporary order is not

        appealable. This Court should permit the district court to finish its work and

        dismiss the appeal for lack of appellate jurisdiction.

              Alternatively, the Court should deny the motion for a stay. Defendants do

        not demonstrate a likelihood of success on the merits. Defendants’ actions likely

        violate both the Privacy Act and the Administrative Procedure Act. Defendants

        also fail to show that they will suffer real injuries, much less irreparable harm, if

        this Court does not stay the temporary order before it expires in less than three

        weeks, or that the equities weigh in their favor. The temporary order prevents harm

        to plaintiffs and serves the public interest by ensuring that defendants do not



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        disclose highly sensitive, detailed, and non-anonymized private information to

        unauthorized people without first complying with the Privacy Act. Defendants do

        not come close to the heavy burden required for a stay.

                                          STATEMENT

              After President Trump took office, he issued an executive order establishing

        the “Department of Government Efficiency to implement the President’s DOGE

        Agenda . . . .” (ADD26).1 Elon Musk, a senior advisor to the President, is the de

        facto head of DOGE. (ADD25). According to the White House press secretary, the

        President has directed Musk and DOGE to identify fraud at the Social Security

        Administration (SSA). (ADD30).

              The district court, in assessing whether quick-developing circumstances

        required an emergency order, discussed in detail the arrival of DOGE personnel at

        SSA and their requests for sensitive data as of mid-March. (ADD34–42). The

        DOGE Team2 members and affiliates demanded and obtained full access to non-

        anonymized data about millions of Americans in SSA’s complex and

        comprehensive systems of record. (ADD38–39, 43). They also requested the

        source code for SSA’s complex systems. (ADD38, 41). Many did so without

        1
          Defendants provided the district court’s temporary restraining order and opinion
        in an addendum to their motion; in this opposition, appellees will cite the order and
        opinion by the addendum page numbers (ADD1–143).
        2
          The relevant executive order directs the heads of each federal agency, including
        SSA, to “establish within their respective agencies a DOGE Team of four
        employees.” (ADD120).

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        completing standard training or background investigations. Some were not yet

        detailed to SSA. And none demonstrated or explained their need to access massive

        amounts of non-anonymized (and highly sensitive) data. (ADD121–125).

               In contrast, in assisting auditors, SSA ordinarily provides data pertaining to a

        requested scope of review, which the requester would outline in detail. (ADD37).

        “In response, SSA provides ‘anonymized or sanitized data needed for the type of

        review being conducted. If problems were identified, then the individual cases

        would be located and addressed.’” (Id.). The DOGE team nevertheless demanded

        that they “be given immediate, full access to SSA data in the Enterprise Data

        Warehouse (‘EDW’), which included Numident files, the Master Beneficiary

        Record (‘MBR’) files, and the Supplemental Security Record (‘SSR’) files.” (Id. ¶

        30). Citing the Flick declaration, the district court explained that “EDW contains

        ‘extensive information about anyone with a social security number, including

        names, names of spouses and dependents, work history, financial and banking

        information, immigration or citizenship status and marital status.’ (Id. ¶ 31). The

        Numident file ‘contains information necessary for assigning and maintaining social

        security numbers.’ (Id. ¶ 32). The MBR and SSR records ‘contain detailed

        information about anyone who applies for, or receives, Title II or Title XVI

        benefits.’” (Id. ¶ 33).

               To preserve the status quo pending a hearing on forthcoming preliminary

        injunctive relief, the district court on March 20 entered a temporary order (ADD1–



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        6) and accompanying opinion (ADD7–143). The district court explained that the

        temporary order was necessary to prevent irreparable harm caused by defendants’

        unlawful disclosure of plaintiffs’ private and personally identifying information

        and that the government had shown no countervailing injury (ADD135–139). The

        district court concluded that “plaintiffs3 are likely to succeed on their claim that

        SSA’s provision to the DOGE Team of access to SSA systems is ‘not in

        accordance with’ the Privacy Act, and therefore in violation of the APA.”

        (ADD134). The court also concluded that plaintiffs “are likely to succeed on a

        claim that the conduct at issue was unreasonable and capricious.” (ADD135).

                The temporary restraining order precludes SSA from disclosing personally

        identifiable information to DOGE team members or DOGE affiliates without

        sufficiently explaining their “need to know” such information as required by the

        Privacy Act. (ADD1–3). Using the terminology of the President’s executive order,

        the temporary order defines the terms “DOGE Team” and “DOGE Affiliate” to

        refer to persons working on implementing the “DOGE agenda.” (ADD5).

                The temporary order explicitly does not preclude SSA from sharing

        anonymized data or records with DOGE team members, provided that they

        complete training and background checks. (ADD2). The order also specifically

        permits SSA to provide access to non-anonymized data for those DOGE team




        3
            Plaintiffs assert associational standing on behalf of their members. (See ADD97).

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        members who provide a detailed written explanation of the need for that data and

        the requested scope of access—i.e., comply with the Privacy Act (ADD3).

              Following entry of the temporary order, Acting SSA Commissioner Leland

        Dudek claimed that the temporary order applied to “virtually all” of SSA’s tens of

        thousands of employees and functionally prohibited the agency from doing its

        work, (see ECF No. 51), although its text covers only the “ten unnamed DOGE

        people [who are] assigned to SSA to further the DOGE agenda,” potential future

        additions to that group, and folks with whom they are working in concert. (ECF

        52).4 The district court instructed that any party needing further clarification should

        seek it from the court. (ECF Nos. 51–52). Defendants, who had raised concerns at

        the outset, did not.

              Indeed, defendants were silent until their March 24 filing of a “Status Report

        and Certification” required by the temporary order. (ECF No. 56). In that filing,

        defendants represented that they had taken appropriate action to revoke DOGE

        Team members and affiliates’ access to SSA data systems. (ECF No. 56 at 1–3).

        Notably, defendants acknowledged that paragraph 3 of the temporary order

        permitted them to provide DOGE Team members with access to “discrete,

        particularized, and non-anonymized data,” subject to certain conditions necessary

        to evidence compliance with the Privacy Act. (Id. at 3). But defendants expressed

        4
          On March 24, Defendants represented that an additional anonymous individual had
        joined the DOGE team. (ADD145). The team’s current population is unknown to
        Plaintiffs.

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        neither a need for, nor an intention to pursue, such access, instead explicitly stating

        that they did not “seek to provide” DOGE Team members and affiliates with

        access to non-anonymized data. (Id. at 3).

              Later on March 24, defendants filed their notice of appeal from the

        temporary order. They then waited two days to pursue a motion for a stay pending

        appeal, which they filed with the district court at 11:15 a.m. on March 26. (ECF

        No. 60). But defendants waited only seven hours after filing that motion to move

        for a stay from this Court. (Dkt. No. 5). That seven-hour window did not afford the

        district court the opportunity to even set a briefing schedule on defendants’ motion,

        much less consider its merits or issue a ruling.

              Approximately 24 hours after filing their motion to stay with the district

        court, defendants submitted a “Notice of Compliance” to that court stating that

        SSA planned to grant four DOGE personnel access to non-anonymized data. (ECF

        No. 62). Defendants’ “Notice” neither contained nor reflected the written

        attestations of need required by the temporary order. (Id.). Defendants set a three-

        hour deadline for the district court to respond. The district court, fortuitously

        unoccupied by hearings in other cases, swiftly convened a telephonic status

        conference. At the conference, defendants represented that the projects on which

        the DOGE personnel were to work were projects long on the agency’s to-do list

        but which agency personnel had never “gotten around” to doing. (ECF No. 67,

        10:20-23). After the conference, the district court ordered additional briefing so



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        that plaintiffs could have an opportunity to respond to defendants’ filing and the

        court could itself consider the arguments.

              Later that day, the parties filed a joint status report agreeing to an extension

        of the temporary order through April 17; to an April 2 deadline for SSA to produce

        the administrative record; and to a briefing schedule on plaintiffs’ forthcoming

        motion for a preliminary injunction. (ECF No. 68). The district court subsequently

        entered that schedule and, at the parties’ request, set a hearing on plaintiffs’ motion

        for April 15. (ECF No. 69).

              Earlier today—only 48 hours after defendants moved for the extraordinary

        relief of a stay pending appeal—plaintiffs filed a brief at the district court opposing

        that motion.

                                           ARGUMENT

        I.    The district court’s order granting the application for a temporary
              restraining order is not appealable.

              It is well-established that temporary restraining orders are not appealable.

        See OPM v. Am. Fed. of Gov’t Emps., AFL-CIO, 473 U.S. 1301, 1303–04 (1985).

        To circumvent that rule, defendants argue that the district court’s temporary order

        qualifies as an “injunction” under 28 U.S.C. § 1292(a)(1), which provides for

        immediate appeal of orders “granting, continuing, modifying, refusing or

        dissolving injunctions.” But temporary restraining orders only qualify as

        “injunctions” in rare circumstances not applicable here. See, e.g., United States ex



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        rel. Lutz v. United States, 853 F.3d 131, 139–40 (4th Cir. 2017) (finding no

        appellate jurisdiction over TRO); Dellinger v. Bessent, No. 25-5028, 2025 WL

        559669, at *1 (D.C. Cir. Feb. 15, 2025) (same).

              To show that a temporary restraining order qualifies as an appealable

        injunction, defendants bear the burden of demonstrating that the order: “(1) may

        have a ‘serious, perhaps irreparable consequence’ and (2) can only be ‘effectually

        challenged’ through immediate appeal.” Lutz, 853 F.3d at 139 (quoting Carson v.

        American Brands, Inc., 450 U.S. 79, 84 (1981)). As this Court has emphasized, in

        making this determination, any exception to the rule is construed “narrowly,”

        against the moving party. Selective Insurance Company of America v. Westfield

        Insurance Company, 73 F.4th 239, 243 (4th Cir. 2023).

              The temporary order here does not come close to qualifying as an injunction,

        an understanding with which defendants appear to agree. As they argued in the

        district court just yesterday, “the short-term nature of a TRO sufficiently

        differentiates it from a preliminary injunction.” (ECF No. 66, at 4); accord

        Fernandez-Roque v. Smith, 671 F.2d 426, 429 (11th Cir. 1982) (“[C]haracteristic

        of a temporary restraining order is the limitation on its duration.”).

              Defendants’ main contention before this Court appears to be that the

        temporary order has temporarily halted the conduct at issue. Mot. at 8. But that is

        true for every temporary restraining order. The question before this Court is

        whether this temporary order is the rare type that should be treated as appealable.



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        Defendants point to nothing that qualifies as a serious or irreparable consequence

        of briefly delaying their attempts to “modernize” the SSA. As indicated at

        yesterday’s status conference before the district court, some of these modernization

        efforts have long been on the SSA wish list. And a temporary delay in

        implementing a program (even a program spurred by Presidential action) is not the

        type of injury that transforms a temporary restraining order into an appealable

        order. Defendants’ assertion that the temporary order “likely facilitates improper

        payments that will be difficult, if not impossible” to recover is both without

        support and does not overcome the jurisdictional hurdle here. (Dkt. No. 5 at 27.)

              The temporary order here simply preserves the status quo, which has been in

        place at the SSA for decades. (See ECF No. 66, at 4 (defendants arguing that “[a]

        TRO is a short-term remedy with a fixed duration aimed at preserving the status

        quo”)). “Until final judgment on the underlying litigation, there is no harm in

        preserving the status quo.” Lutz, 853 F.3d at 139–40. An immediate appeal is

        unwarranted where, as here, defendants will be able to appeal, as of right, if the

        district court enters an injunction after further briefing and fact-finding. (ECF No.

        69); see 28 U.S.C. § 1292(a)(1).

              Nor is there any reason that this order “can only be ‘effectually challenged’

        through immediate appeal.” Carson, 450 U.S. at 84. The opposite is true; a rushed

        review of the district court’s preliminary determination on an incomplete record

        does not qualify as effective review. “Orderly procedure requires that the trial court



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        be given the opportunity of passing on these legal matters at the time of the hearing

        of the motion for preliminary injunction.” Connell v. Dulien Steel Prods., Inc., 240

        F.2d 414, 418 (5th Cir. 1957). Allowing this matter to proceed through the normal

        appellate channel means the trial court will have “opportunity to have a full

        presentation of the facts and law before entering an order that is appealable to the

        appellate courts.” Id.

              An analogous case came just last month when the government attempted to

        appeal a temporary order entered in the litigation involving Special Counsel

        Hampton Dellinger. Dellinger, 2025 WL 559669, at *1. The district court in that

        case granted a 14-day temporary restraining order and promised to move

        expeditiously towards consideration of injunctive relief, just as here. See id. The

        government filed an appeal and sought a stay of the temporary order, arguing the

        court should make an exception to the usual rule that such orders are not

        appealable because the order “works an extraordinary harm” on the government.

        Id. at *1, *5. In the alternative, the government requested the court construe the

        stay motion as a petition for a writ of mandamus. Id. at *1.

              The D.C. Circuit rejected both requests, finding that there was no appellate

        jurisdiction over the denial of the 14-day temporary restraining order and no good

        reason for mandamus. Id. at *5-6. As the court explained, “[t]he relief requested by

        the government is a sharp departure from established procedures that balance and

        protect the interests of litigants, and ensure the orderly consideration of cases



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        before the district court and this court.” Id. at *1. The court concluded that

        “[b]ecause it would be inconsistent with governing legal standards and ill-advised

        to hold that a TRO is appealable based solely on unsubstantiated claims of

        ‘extraordinary harm’ for fourteen days, we decline to treat the TRO as an

        appealable injunction.” Id.

              The government filed an application to vacate the temporary order in the

        Supreme Court, claiming there was appellate jurisdiction over the order “in light of

        the core executive power assertedly restrained.” Bessent v. Dellinger, 145 S. Ct.

        515, 515 (2025). But the Supreme Court declined to find jurisdiction and instead

        held the application in abeyance until the order was scheduled to expire; as the

        dissent noted, this was likely because the majority of the Supreme Court doubted

        the appealability of the temporary order. Id. at 516 (Gorsuch, J., dissenting).

              As in Dellinger, the short-term order issued in this case to preserve the status

        quo pending a full hearing on injunctive relief does not qualify as an appealable

        order under § 1292(a)(1). The government cannot show any grave or irreparable

        damage in putting off their overhaul of the SSA for a few weeks, and allowing that

        overhaul to proceed without following the privacy laws and procedure would cause

        irreparable harm to plaintiffs (see infra 21-22.) Nor is immediate review of this

        short-term order needed; the normal appellate process, where this court can review

        the district court’s decision on a fuller record, is a far more effective form of

        review.



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              The only case that defendants cite supporting appellate jurisdiction is Abbott

        v. Perez, 585 U.S. 579, 594 (2018). (Dkt. No. 5, at 7). But that case did not involve

        a short, temporary order to preserve the status quo pending more robust briefing

        and hearing; rather, it involved the decision of a three-judge panel after a full trial

        that effectively determined the electoral maps Texas had to use for the elections

        that year. Abbott, 585 U.S. at 559; Perez v. Abbott, 274 F. Supp. 3d 624, 636 (W.D.

        Tex. 2017), rev’d and remanded, 585 U.S. 579 (2018). The order at issue in Abbott

        was not a temporary restraining order, and Abbott thus is inapposite.

              This Court lacks jurisdiction to review this appeal, so the stay pending the

        appeal must be denied and the appeal dismissed.


        II.   A stay would be inappropriate and unwarranted.
              As an initial matter, defendants’ motion to stay fails because they effectively

        moved simultaneously for this motion along with their stay motion in the district

        court, instead of first allowing the district court any time to consider the motion

        before it. Fed. R. App. P. 8(a)(2); S.E.C. v. Dunlap, 253 F.3d 768, 774 (4th Cir.

        2001) (failing to pursue relief in the district court “constitutes an omission we

        cannot properly ignore.”). Nor have defendants demonstrated that it was

        impractical for them to give the district court more than a few hours to resolve the

        request for a stay. Fed. R. App. P. 8(a)(2)(A)(i); Dunlap, 253 F.3d at 774.

        Defendants are fully aware of the Rule 8 requirements; the government routinely

        asks this and other courts of appeals to dismiss stay requests by other parties for


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        failure to seek a stay below. Because defendants failed to meaningfully seek a stay

        of the temporary order from the district court or demonstrate that it was impractical

        to do so, this Court should deny the procedurally deficient stay before it.

              Even if the Court deems the temporary order reviewable, a stay is

        unwarranted. Defendants must (1) make a “strong showing” that they are likely to

        succeed on the merits; (2) show that they will be irreparably injured absent a stay;

        (3) demonstrate that the stay will not “substantially injure” plaintiffs; and (4) show

        that the public interest favors an injunction. See Nken v. Holder, 556 U.S. 418, 434

        (2009); Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). Defendants

        cannot satisfy any of these requirements.


           A. Defendants are unlikely to succeed on the merits.
              A party seeking a stay pending appeal must make a “strong showing that he

        is likely to succeed on the merits.” Hilton v. Braunskill, 481 U.S. 770, 776 (1987).

        To succeed on the merits, defendants would have to show that the district court

        abused its discretion in granting the temporary restraining order in advance of the

        preliminary injunction hearing. See Roe v. Dep’t of Defense, 947 F.3d 207, 219

        (4th Cir. 2020), as amended (Jan. 14, 2020). They cannot.

              First, as the district court explained, the harm plaintiffs allege is akin to the

        tort of intrusion upon seclusion, see TransUnion LLC v. Ramirez, 594 U.S. 413,

        424–25 (2021), and thus satisfies the injury in fact requirement of Article III,

        (ADD94). The district court carefully considered defendants’ contention otherwise


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        and rejected it after extensive analysis of relevant case law (ADD76–94) that

        plaintiffs need not repeat in full here. In a nutshell, defendants contend that

        disclosing information to DOGE team members cannot constitute a cognizable

        harm for Article III standing purposes. But plaintiffs have a strong privacy interest

        in records that would ordinarily be maintained in the seclusion of the home or

        other private space, such as a bank or physician’s office. (ADD91). Disclosing

        those records to persons who should not have them is the functional equivalent of

        an intrusion upon the seclusion of those spaces, sufficient to meet Transunion’s

        requirements.

              Second, defendants contend that plaintiffs have not identified a final agency

        action that could be subject to challenge under the Administrative Procedure Act.

        (Def. Mot., Dkt. 5 at 17) Not so. DOGE team members requested full access to

        SSA’s Enterprise Data Warehouse, and SSA granted that access. The Acting

        Commissioner’s decision thus “concluded” the “agency’s decisionmaking

        process.” Jake’s Fireworks Inc. v. U.S. Consumer Prod. Safety Comm’n, 105 F.4th

        627, 630–31 (4th Cir. 2024). His decision determined the rights and obligations of

        agency personnel to disclose and receive private information and changed SSA

        policy. (ADD106–109).

              Third, defendants contend that the Privacy Act forecloses plaintiffs’ claims.

        (Def. Mot., Dkt. 5 at 21–23). But as defendants acknowledge, this Court has stated

        that “injunctive relief for a Government’s violation of the Act will instead be



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        appropriate and authorized by the APA.” Doe v. Chao, 435 F.3d 492, 505 n.17 (4th

        Cir. 2006); see (Def. Mot., Dkt. 5 at 23 n.2). Defendants also contend that they did

        not violate the Privacy Act by disclosing data to unauthorized personnel (Def.

        Mot., Dkt. 5 at 23–26), but the district court made detailed findings of facts, based

        on declarations, that DOGE team members lacked authority. (ADD120–124).

              Most importantly, SSA’s maintenance of the public’s personally identifiable

        information is governed by the Privacy Act of 1974, which protects against

        “invasion[s] of personal privacy” and requires federal agencies to “collect,

        maintain, use, or disseminate” records containing such information in a way that

        both (1) “assures that such action is for a necessary and lawful purpose” and (2)

        provides “adequate safeguards . . . to prevent misuses of such information.” 5

        U.S.C. §§ 552a(b), (b)(4). To that end, the Privacy Act prohibits agencies from

        “disclos[ing] any record which is contained in a system of records . . . to any

        person, or to another agency” absent written authorization from the individual to

        whom the record pertains. 5 U.S.C. § 552a(b). None of plaintiffs’ members have

        consented to the disclosures at issue here.

              The Privacy Act also requires agencies to publish System of Records

        Notices (“SORNs”) in the Federal Register to inform the public about how they

        collect and maintain personal information. The SORNs relevant here permit the

        disclosure of certain data to the Department of Treasury for the collection of Social

        Security taxes, see 71 Fed. Reg. 1827 (Jan. 11, 2006), or to respond to federal,



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        state, and local agencies after a data breach, see 72 Fed. Reg. 69723 (Dec. 10,

        2007). But the SORNs permit disclosure to the Office of the President only for the

        purpose of responding to an inquiry made by “[an] individual or from a third party

        on [the individual’s] behalf.” 71 Fed. Reg. 1827; 71 Fed. Reg. 831. The “routine

        use” exception in those SORNs allow for access only to the extent “needed.” Id.

        Defendants “offered no meaningful explanation as to why the DOGE team was in

        ‘need’ of unprecedented, unfettered access to virtually SSA’s entire data systems

        in order to accomplish the goals of modernizing technology, maximizing efficiency

        and productivity, and detecting fraud, waste, and abuse.” (ADD130).

           B. Leaving the TRO in place will not injure Defendants, much less cause
              them irreparable harm.
              Defendants do not and cannot show that they will suffer irreparable harm if

        this Court does not stay the temporary restraining order. First, the temporary order

        itself will soon expire and be replaced by an order granting or denying plaintiffs’

        forthcoming motion for a preliminary injunction. (See ECF No. 69). Thus, the

        temporary order will have only minimal effect on defendants. Second, any injuries

        defendants allege—if they exist—are appropriately sourced to the Privacy Act, not

        the temporary order.

              Third, defendants’ argument that the temporary order prevents them from

        carrying out their responsibilities or the “DOGE agenda” is factually unsupported

        and legally insufficient. Defendants do not explain why such efforts could not

        proceed using redacted or anonymized data, which the temporary order expressly


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        permits and which plaintiffs’ unrebutted evidence establishes is the standard anti-

        fraud practice at the agency. Nor do defendants suggest that the pathway the

        temporary order identifies for securing access to non-anonymized data is

        unworkable. Even if defendants’ anti-fraud efforts were temporarily limited,

        “[m]ere injuries, however substantial, in terms of money, time, and energy

        necessarily expended in the absence of a stay are not enough” to constitute

        irreparable harm. Di Biase v. SPX Corp., 872 F.3d 224, 230 (4th Cir. 2017)

        (quoting Sampson v. Murray, 415 U.S. 61, 90 (1974)).

              The party seeking a stay pending appeal bears the burden of demonstrating

        irreparable harm if the stay is denied. Defendants’ initial declination of the district

        court’s invitation to “seek to provide SSA DOGE Team Members with access to

        ‘discrete, particularized, and non-anonymized data’ as permitted under the

        conditions contained in paragraph 3 of the [temporary] Order,” (ECF No. 56 at 3),

        undercuts any subsequent argument regarding irreparability. Moreover, defendant

        Dudek yesterday stated that the SSA DOGE Team’s current pursuits are things

        SSA has been considering for years but “has never gotten around” to doing. (ECF

        No. 67 at 10:20–23). Defendant Dudek’s testimony is elucidating—and

        dispositive. Leaving the TRO in place does not risk any injury to defendants, much

        less irreparable harm.

              Defendants also assert that the “injunction here impinges on the President’s

        broad authority over and responsibility for directing employees in important work



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        to modernize federal government systems and identify fraud, waste, and abuse

        throughout the federal government.” (Def. Mot., Dkt. 5 at 26). But the temporary

        order does not prevent DOGE members from scrutinizing SSA systems for waste,

        fraud, and abuse. (Def. Mot., Dkt. 5 at 27). Rather, it simply requires them to

        comply with relevant privacy laws and safeguards before doing so.


           C. Staying the TRO would substantially harm plaintiffs’ members and be
              detrimental to the public interest.
               Defendants must show that “issuance of the stay will not substantially injure

        the other parties interested in the proceeding.” Nken, 556 U.S. at 434. But

        Defendants fail to address the harms plaintiffs and the public would suffer if the

        DOGE team were permitted to enjoy “ongoing, unprecedented, unfettered access

        to the income history, tax return data, and medical information of millions of

        Americans.” (ADD137–138).

              The temporary order is the sole reason that the DOGE “employees who view

        that information are subject to the same confidentiality obligations that apply to

        other similarly situated agency employees.” (Def. Mot., Dkt. 5 at 28). As

        defendants make clear in their Status Report and Certification, only “while the

        Court’s Order remains in effect” will DOGE Defendants, DOGE Team members,

        and DOGE Affiliates comply with baseline security practices, such as requiring

        that anyone accessing SSA data completes requisite training, passes a standard

        background check, and has finalized paperwork outlining and documenting the



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        work they will do at the agency. (ECF No. 56, at 2–3). More importantly, only “in

        light of the Court’s Order” will SSA not “seek to provide” DOGE team members

        and affiliates with personally identifiable information in a manner that this Court

        ordered and that complies with the Privacy Act, that is, by identifying their need to

        know. (Id. at 3; see also ADD3).

               Defendants seek to proceed as they had been for the few weeks before the

        district court issued the temporary order—allowing DOGE members who are not

        subject to standard confidentiality obligations to access the private, personal

        information of plaintiffs’ members. A stay of the district court’s order would allow

        defendants to misuse the sensitive personal information of millions of Americans,

        potentially transmitting it to other agencies, using it to train artificial intelligence

        models, or using artificial intelligence to analyze it. And with regard to data,

        “[o]nce the cat is out of the bag, it will be decidedly hard to put it back.” Earley v.

        Smoot, 846 F. Supp. 451 (D. Md. 1994).

               Moreover, the public is gravely harmed by the disclosure of confidential

        personal identifying information, particularly that which is prohibited by law.

        League of Women Voters of U.S. v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016). While

        “rooting out possible fraud, waste, and mismanagement” in SSA programs is in the

        public interest, the government may not “flout the law to do so.” (ADD141). The

        balance of equities and public interest therefore weigh strongly in favor of leaving

        the temporary restraining order in place.



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                                         CONCLUSION

              This Court should dismiss this appeal for lack of appellate jurisdiction.

        Alternatively, it should deny appellants’ emergency motion for stay of the district

        court’s temporary restraining order.

         Dated: March 28, 2025                    Respectfully submitted,

                                                  ___________________________
                                                  Alethea Anne Swift
                                                  Mark B. Samburg
                                                  Emma R. Leibowitz
                                                  Robin F. Thurston
                                                  DEMOCRACY FORWARD FOUNDATION
                                                  P.O. Box 34553
                                                  Washington, DC 20043
                                                  (202) 448-9090
                                                  aswift@democracyforward.org
                                                  msamburg@democracyforward.org
                                                  eleibowitz@democracyforward.org
                                                  rthurston@democracyforward.org

                                                  Counsel for Plaintiffs-Appellees




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                                 CERTIFICATE OF COMPLIANCE

        I hereby certify that:

           1. This opposition to the motion complies with the type-volume limitations of

              Fed. R. App. P. 27(d)(2)(A) because it contains fewer than 5,200 words,

              excluding the parts of the motion exempted by Fed. R. App. P. 27(a)(2)(B).


           2. This motion complies with the typeface requirements of Fed. R. App. P.

              32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6) because

              this motion has been prepared in a proportionally spaced typeface using

              Microsoft Word in 14-point Times New Roman.




                                               Respectfully submitted,

        March 28, 2025                     By:
                                               Alethea Anne Swift
                                               Counsel for Plaintiffs-Appellees




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